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              State of Tennessee v. Floyd Pete LynchE2019-00195-CCA-R3-CDAuthoring Judge: Judge Robert H. Montgomery, Jr.Trial Court Judge: Judge Alex E. PearsonThe Defendant, Floyd Pete Lynch, was convicted by a Hancock County Criminal Court jury of violating the sexual offender registry, a Class E felony.&nbsp; See T.C.A. § 40-39-208 (2018).&nbsp; He received a sentence of four years’ confinement.&nbsp; On appeal, the Defendant contends that the evidence was insufficient to support his conviction.&nbsp; We affirm the judgment of the trial court.&nbsp;            
                      
              Hancock County            
                      
              Court of Criminal Appeals             
                      
              04/17/20            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Edward DeanW2018-01363-CCA-R3-CDAuthoring Judge: Judge Alan E. GlennTrial Court Judge: Judge Paula L. SkahanThe Defendant, Edward Dean, was convicted by a Shelby County Criminal Court jury of attempted second degree murder, a Class B felony; employing a firearm during the commission of a dangerous felony, a Class C felony, and unlawful possession of a firearm by a convicted felon, a Class C felony. He was sentenced by the trial court as a Range I offender to twelve years at 30% for the attempted second degree murder conviction, ten years at 100% for the employment of a firearm conviction, and six years at 30% for the unlawful possession of a firearm conviction. The trial court ordered that the sentences be served consecutively, for an effective sentence of twenty-eight years in the Department of Correction. On appeal, the Defendant challenges the sufficiency of the evidence in support of his attempted second degree murder and unlawful possession of a firearm convictions and argues that the trial court erred in denying his motion to suppress his statement to police, in limiting the testimony of a defense witness physician, in failing to give the jury an instruction on diminished capacity, and in failing to give sufficient weight to mitigating factors in sentencing. Following our review, we affirm the judgments in Counts 1 and 2 but reverse the judgement in Count 3.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              04/17/20            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Kevin E. TrentE2018-02239-CCA-R3-CDAuthoring Judge: Judge Robert H. MontgomeryTrial Court Judge: Judge E. Shayne SextonThe Defendant, Kevin E. Trent, was convicted in 2015 upon his guilty plea of vehicular homicide by intoxication, a Class B felony.&nbsp; See T.C.A. § 39-13-213 (2010).&nbsp; The Defendant pleaded guilty as a Range I, standard offender and agreed to an eight-year sentence.&nbsp; The manner of service of his sentence was reserved for the trial court’s determination.&nbsp; On appeal, the Defendant contends that the trial court erred by imposing incarceration rather than an alternative sentence.&nbsp; We reverse the judgment of the trial court and remand the case for the entry of an amended judgment reflecting the sentence of split confinement of time served and the remainder on probation.&nbsp; Upon remand, the trial court is to determine the appropriate conditions of probation.&nbsp;            
                      
              Claiborne County            
                      
              Court of Criminal Appeals             
                      
              04/17/20            
                      
                          
                      
                          
                  
                        
                      
              John Alan Chapman v. State of TennesseeM2019-00429-CCA-R3-PCAuthoring Judge: Judge J. Ross DyerTrial Court Judge: Judge Thomas W. GrahamThe petitioner, John Alan Chapman, appeals the denial of his post-conviction petition, arguing the post-conviction court erred in finding he received the effective assistance of counsel at trial. After our review of the record, briefs, and applicable law, we affirm the denial of the petition.            
                      
              Grundy County            
                      
              Court of Criminal Appeals             
                      
              04/17/20            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Christopher Ray RickmanW2019-00778-CCA-R3-CDAuthoring Judge: Judge Alan E. GlennTrial Court Judge: Judge J. Weber McCrawThe Defendant, Christopher Ray Rickman, pleaded guilty to the offense of possession with intent to deliver .5 grams or more of methamphetamine, a Schedule II controlled substance. As a condition of his plea, the Defendant expressly preserved a certified question of law pursuant to Rule 37(b)(2)(A) of the Tennessee Rules of Criminal Procedure, stemming from his denied motion to suppress. After thorough review, we conclude that the certified question does not meet the requirements of Rule 37(b)(2)(A) and State v. Preston, 759 S.W.2d 647 (Tenn. 1988), and, as a result, this court is without jurisdiction to consider the appeal. Accordingly, the appeal is dismissed.            
                      
              McNairy County            
                      
              Court of Criminal Appeals             
                      
              04/16/20            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Shermond Dewayne Dillard, Jr. - Concur in PartM2018-02268-CCA-R3-CDAuthoring Judge: Judge Norma McGee OgleTrial Court Judge: Judge Angelita Blackshear DaltonI join the majority in affirming the defendant’s conviction of aggravated robbery and ten-year sentence, but I write separately to dissent from the majority’s conclusion that the trial court did not err by allowing testimony about the stolen rental car.            
                      
              Davidson County            
                      
              Court of Criminal Appeals             
                      
              04/16/20            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Shermond Dewayne Dillard, Jr.M2018-02268-CCA-R3-CDAuthoring Judge: Judge J. Ross DyerTrial Court Judge: Judge Angelita Blackshear DaltonA Davidson County jury convicted the defendant, Shermond Dewayne Dillard, Jr., of aggravated robbery, for which he received aten-year sentence. On appeal, the defendant argues the trial court should have granted a new trial based on the admission of irrelevant and unfairly prejudicial testimony and improper closing argument by the State. The defendant also contends the trial court erred in sentencing him. After reviewing the record and considering the applicable law, we affirm the judgment of the trial court.            
                      
              Davidson County            
                      
              Court of Criminal Appeals             
                      
              04/16/20            
                      
                          
                      
                          
                  
                        
                      
              James Snipes v. State of TennesseeW2018-02225-CCA-R3-PCAuthoring Judge: Judge Norma McGee OgleTrial Court Judge: Judge Glenn Ivy WrightThe Petitioner, James Snipes, appeals the Shelby County Criminal Court’s denial of his petition for post-conviction relief, seeking relief from his conviction of first degree felony murder and resulting life sentence. On appeal, the Petitioner contends that he received the ineffective assistance of trial counsel and that he is entitled to a second post-conviction evidentiary hearing due to post-conviction counsel’s deficient performance at the first hearing. Based upon the record and the parties’ briefs, we affirm the judgment of thepost-conviction court.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              04/16/20            
                      
                          
                      
                          
                  
                        
                      
              Michael Hart v. State of Tennessee W2019-00019-CCA-R3-PCAuthoring Judge: Judge Norma McGee OgleTrial Court Judge: Judge Roy B. Morgan, Jr.The Petitioner, Michael Hart, appeals the Madison County Circuit Court’s denial of his petition requesting DNA analysis of evidence pursuant to the Post-Conviction DNA Analysis Act of 2001. Based upon the record and the parties’ briefs, we affirm the judgment of the post-conviction court.            
                      
              Madison County            
                      
              Court of Criminal Appeals             
                      
              04/16/20            
                      
                          
                      
                          
                  
                        
                      
              Joshua P. Holt v. State of TennesseeM2018-01299-CCA-R3-PCAuthoring Judge: Judge Alan E. GlennTrial Court Judge: Judge Brody N. KaneThe pro se Petitioner, Joshua P. Holt, appeals the dismissal of his petition for post-conviction relief, arguing that the post-conviction court erred in finding that he received effective assistance of counsel and that his guilty pleas were knowing and voluntary. Following our review, we affirm the dismissal of the petition.            
                      
              Wilson County            
                      
              Court of Criminal Appeals             
                      
              04/16/20            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Nicholas Ryan FloodM2019-00525-CCA-R3-CDAuthoring Judge: Judge J. Ross DyerTrial Court Judge: Judge David A. PattersonA Putnam County grand jury indicted the defendant for possession of a Schedule II controlled substance with intent to sell or deliver, possession of a Schedule IV controlled substance with intent to sell or deliver, and simple possession of a Schedule II controlled substance. After trial, a jury convicted the defendant of all counts. On appeal, the defendant challenges the trial court’s denial of his motion to suppress evidence obtained from a warrantless search of his girlfriend’s vehicle. After a thorough review of the record and applicable law, we reverse the judgment of the trial court and dismiss the indictments against the defendant.            
                      
              Putnam County            
                      
              Court of Criminal Appeals             
                      
              04/16/20            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Elizabeth Lynn SchmitzM2019-00624-CCA-R3-CDAuthoring Judge: Judge Timothy L. EasterTrial Court Judge: Judge Larry J. WallaceDefendant, Elizabeth Lynn Schmitz, appeals her convictions by a Dickson County jury of attempted theft of property over $500 and hindering a secured creditor. The trial court sentenced Defendant to two-years for hindering a secured creditor and a concurrent term of eleven months and twenty-nine day for the misdemeanor theft, suspended to probation. On appeal, Defendant argues the evidence was insufficient to support either conviction when the evidence demonstrated that the subject property of both offenses was her own car. Defendant also claims the trial court gave incomplete instructions to the jury. After a full review, we conclude that Defendant is entitled to relief as to the attempted theft of property conviction because Defendant cannot be convicted of attempted theft of something she owned, and we vacate the conviction as to that count. As to the remaining count of hindering a secured creditor, we confirm the judgment of the trial court.            
                      
              Dickson County            
                      
              Court of Criminal Appeals             
                      
              04/16/20            
                      
                          
                      
                          
                  
                        
                      
              Jawaune Massey v. State of TennesseeE2019-00616-CCA-R3-PCAuthoring Judge: Judge Norma McGee OgleTrial Court Judge: Judge William K. RogersThe Petitioner, Jawaune Massey, appeals the post-conviction court’s denial of his petition for post-conviction relief from his convictions of two counts of first degree premeditated murder, two counts of first degree felony murder, one count of especially aggravated robbery, one count of possessing twenty-six grams or more of cocaine for resale, one count of conspiracy to commit aggravated robbery, and one count of maintaining a dwelling where controlled substances are used or sold and his resulting effective sentence of two consecutive life terms.&nbsp; On appeal, the Petitioner contends that trial counsel was ineffective for failing to object to the Petitioner’s wearing a stun vest at trial.&nbsp; Based upon the record and the parties’ briefs, we affirm the judgment of the post-conviction court.            
                      
              Sullivan County            
                      
              Court of Criminal Appeals             
                      
              04/16/20            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Nathan G. FlemingE2019-00078-CCA-R3-CDAuthoring Judge: Judge John Everett Williams, P.J.Trial Court Judge: Judge Bobby R. McGeeA jury convicted the Defendant, Nathan G. Fleming, of two counts of aggravated robbery, two counts of attempted first degree murder, four counts of employing a firearm during the commission of a dangerous felony, two counts of carjacking, and two counts of especially aggravated robbery.&nbsp; The trial court merged various convictions and imposed an effective sentence of sixty-eight years.&nbsp; On appeal, the Defendant challenges the sufficiency of the evidence supporting his convictions and the trial court’s imposition of partial consecutive sentences.&nbsp; We affirm the judgments of the trial court.&nbsp;            
                      
              Knox County            
                      
              Court of Criminal Appeals             
                      
              04/15/20            
                      
                          
                      
                          
                  
                        
                      
              Christopher Brown v. State of Tennessee - DissentW2018-01705-CCA-R3-PCAuthoring Judge: Presiding Judge John Everett WilliamsTrial Court Judge: Judge J. Robert Carter, Jr.I respectfully dissent from the majority’s opinion, concluding that post-conviction counsel had an actual conflict of interest and granting a new hearing, because I conclude that the issue is waived.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              04/15/20            
                      
                          
                      
                          
                  
                        
                      
              Christopher Brown v. State of TennesseeW2018-01705-CCA-R3-PCAuthoring Judge: Judge D. Kelly Thomas, Jr.Trial Court Judge: Judge J. Robert Carter, Jr.The Petitioner, Christopher Brown, appeals the denial of his petition for post-conviction relief, in which he challenged his convictions for one count of first degree premeditated murder and three counts of aggravated assault and his effective sentence of life imprisonment plus ten years. On appeal, the Petitioner contends that: (1) post-conviction counsel had a conflict of interest that disqualified him from representing the Petitioner at the hearing; (2) trial counsel provided ineffective assistance; and (3) post-conviction counsel was ineffective at the post-conviction hearing. Upon reviewing the record and the applicable law, we conclude that the Petitioner is entitled to a new hearing based upon post-conviction counsel’s conflict of interest.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              04/15/20            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Bragg LampkinW2019-00885-CCA-R3-CDAuthoring Judge: Presiding Judge John Everett WilliamsTrial Court Judge: Judge Chris CraftThe Defendant entered a guilty plea to one count of sexual exploitation of a minor via electronic means pursuant to pursuant to North Carolina v. Alford, 400 U.S. 25 (1970), with the sentence to be determined by the trial court. The trial court denied the Defendant’s request for judicial diversion and sentenced him to four years of supervised probation with thirty days to be served in confinement. On appeal, the Defendant asserts that the trial court erred in denying diversion because it considered an irrelevant factor and because its factual findings were against the weight of the evidence. He also argues he was entitled to full probation. After a thorough review of the record, we affirm the trial court’s sentencing decisions and remand for correction of the judgment form.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              04/15/20            
                      
                          
                      
                          
                  
                        
                      
              Eddie H. Pittman v. Shawn Phillips, WardenW2019-01474-CCA-R3-HCAuthoring Judge: Judge James Curwood Witt, Jr.Trial Court Judge: Judge R. Lee Moore, Jr.The petitioner, Eddie H. Pittman, appeals the summary dismissal of his petition for writ of habeas corpus, which petition challenged his 2015 Madison County Circuit Court jury conviction of reckless aggravated assault. Discerning no error, we affirm.            
                      
              Lake County            
                      
              Court of Criminal Appeals             
                      
              04/15/20            
                      
                          
                      
                          
                  
                        
                      
              Charles A. Guess v. Shawn Phillips, WardenW2019-01347-CCA-R3-HCAuthoring Judge: Presiding Judge John Everett WilliamsTrial Court Judge: Judge R. Lee Moore, Jr.The Petitioner appeals the summary denial of his petition for writ of habeas corpus in which he challenged his convictions for especially aggravated robbery and facilitation of first degree murder. After a review of the record and applicable law, we affirm the judgment of the habeas corpus court.            
                      
              Lake County            
                      
              Court of Criminal Appeals             
                      
              04/15/20            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Christopher Allen SmithE2019-01345-CCA-R3-CDAuthoring Judge: Judge Robert L. Holloway, Jr.Trial Court Judge: Judge Don W. PooleDefendant, Christopher Allen Smith, filed a Rule 35 Motion for Modification of Sentence. The trial court held a bifurcated hearing where it denied Defendant's Rule 35 motion and revoked Defendant's probation, ordering his two eight-year consecutive sentences into execution. Defendant now appeals the trial court's denial of his Rule 35 Motion for Modification of Sentence. After a thorough review of the record and applicable case law and discerning no error, the judgments of the trial court are affirmed.            
                      
              Hamilton County            
                      
              Court of Criminal Appeals             
                      
              04/15/20            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Rhasean Lowry - ConcurE2019-00113-CCA-R3-CDAuthoring Judge: Judge Thomas T. WoodallTrial Court Judge: Judge Don W. PooleI join the majority in all issues except the issue regarding the trial court’s denial of Defendant’s request for the trial court to charge facilitation as a lesser included offense of felony murder. As to that issue, I concur in results only.            
                      
              Hamilton County            
                      
              Court of Criminal Appeals             
                      
              04/15/20            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Rhasean LowryE2019-00113-CCA-R3-CDAuthoring Judge: Judge James Curwood Witt, Jr.Trial Court Judge: Judge Don W. PooleAggrieved of his Hamilton County Criminal Court jury convictions of felony murder in the perpetration of aggravated child abuse and aggravated child abuse, the defendant, Rhasean Lowry, appeals. The defendant alleges that the trial court erred by denying his motion to disqualify the Hamilton County District Attorney General’s Office, by admitting into evidence photographs taken during the victim’s autopsy, by refusing to provide a jury instruction on facilitation as a lesser included offense of felony murder and aggravated child abuse, and by denying his motion for new trial based upon the admission of certain testimony. He also contends that the evidence was insufficient to support his convictions. Discerning no error, we affirm.            
                      
              Hamilton County            
                      
              Court of Criminal Appeals             
                      
              04/15/20            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Kenneth Lloyd HillM2019-00032-CCA-R3-CDAuthoring Judge: Judge Norma McGee OgleTrial Court Judge: Judge Angelita Blackshear DaltonThe Appellant, Kenneth Lloyd Hill, was convicted in the Davidson County Criminal Court of possessing a firearm while having a prior conviction for a felony involving the use or attempted use of force, violence, or a deadly weapon, a Class C felony, and the trial court sentenced him as a Range III, persistent offender to fifteen years in confinement. On appeal, the Appellant contends that the trial court erred by refusing to sever the offense from the remaining offenses for which he was on trial and that the trial court committed various sentencing errors. Based upon the record and the parties’ briefs, we affirm the judgment of the trial court.            
                      
              Davidson County            
                      
              Court of Criminal Appeals             
                      
              04/15/20            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Tremaine WilbournW2019-00305-CCA-R3-CDAuthoring Judge: Presiding Judge John Everett WilliamsTrial Court Judge: Judge Lee V. CoffeeThe Defendant, Tremaine Wilbourn, appeals his convictions for first degree premeditated murder, carjacking, employing a firearm during the commission of a dangerous felony, and possession of a firearm while having a prior felony conviction involving the use or attempted use of violence, for which he received an effective sentence of life in prison without the possibility of parole plus thirty-eight years. On appeal, the Defendant contends that (1) the evidence is insufficient to support his conviction for first degree premeditated murder; (2) the trial court erred in prohibiting defense counsel from referencing a prior shooting during opening statements; (3) the trial court erred in excluding evidence of the Defendant’s reason for turning himself in to the United States Marshals Service; and (4) the prosecutor improperly utilized a gun as a demonstrative aid and made improper comments during closing arguments. Upon reviewing the appellate record, the parties’ briefs, and the applicable law, we affirm the judgments of the trial court.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              04/15/20            
                      
                          
                      
                          
                  
                        
                      
              Ziberia Marico Carero v. State of TennesseeE2019-01123-CCA-R3-PCAuthoring Judge: Judge John Everett Williams, P.J.Trial Court Judge: Judge Steven Wayne SwordA jury convicted the Petitioner, Ziberia Marico Carero, of possession of 0.5 grams or more of cocaine in a school zone with intent to sell, possession of 0.5 grams or more of cocaine in a school zone with intent to deliver, sale of 0.5 grams or more of cocaine, and delivery of over 0.5 grams or more of cocaine, and on appeal, his convictions were merged into a single conviction for possession of 0.5 grams or more cocaine in a school zone with intent to sell.&nbsp; This court affirmed the convictions and sentence of twenty-three years in confinement.&nbsp; The Petitioner filed a timely post-conviction petition asserting that he received ineffective assistance of counsel because trial counsel failed to: (1) move for a mistrial based upon the State’s presentation of “surprise” witnesses; (2) object to hearsay testimony; (3) object to a multiplicitous indictment; (4) adequately investigate; and (5) request a facilitation instruction.&nbsp; Under a heading of “cumulative error,” the Petitioner also asserts that trial counsel failed to: (6) secure sequestration of the witnesses; (7) present witness testimony; and (8) protect the Petitioner’s right to testify.&nbsp; The Petitioner also raises various trial errors and contends he is entitled to relief pursuant to cumulative error.&nbsp; After a thorough review of the record, we conclude that the Petitioner’s claims fail to establish ineffective assistance of counsel or have been previously determined or waived, and we affirm the post-conviction court’s denial of relief.            
                      
              Knox County            
                      
              Court of Criminal Appeals             
                      
              04/14/20            
                      
                          
                      
                          
                  
            


      
    
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